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 ,_k'       Texas                            Politics
            Voter                      Identification   (February   2011)



            Voter ID
          Preferences




        Do you agree or disagree that registered voters should be required to present a government-issued photo ID before
        they can be allowed to vote? (February 2011)

          1 00
                                              92%


           80



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  Ol
          40
  Q.
                                                                       32%


          20                                                                               19%

                                                                                                              9%                11%
                                                                                                                   gq   5%


                                             Agree                              Disagree                           Don't know

                                                                            •     Democrats      •   Republicans             Independents


  Mouse-over for notes about the data




                                                                                                                                EXHIBIT
2:13-cv-193
                  exhibitsticker.com




09/02/2014

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